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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT
------------------------------x
                                :
UNITED STATES OF AMERICA        :
                                :
                                :
v.                              :      No. 3:06CR00135(AWT)
                                :
JEREMIAH SIMONS and             :
TYRONE HENRY                    :
                                :
------------------------------x


         ORDER RE ORAL MOTION TO CONTINUE JURY SELECTION

     Defendants Jeremiah Simons and Tyrone Henry’s oral motion

to continue jury selection made on the record during the status

conference on September 6, 2006, was GRANTED on that day.              The

court found that the interests of justice served by postponing

jury selection from August 11, 2006 to October 13, 2006 outweigh

the interests of the public and the defendants in a speedy trial

because the failure to grant a continuance would deny counsel for

the defense the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.

See 18 U.S.C. § 3161(h)(8)(B)(iv).      At the status conference,

defendant Jeremiah Simons filed a speedy trial waiver for the

period from August 11, 2006 to October 13, 2006.             Defendant

Tyrone Henry filed a speedy trial waiver for the period from

September 12, 2006 to October 13, 2006, the court having

previously excluded the time from August 11, 2006 to September

12, 2006 as to defendant Henry.      (Doc. No 26).      Accordingly, the
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speedy trial time shall be excluded as to both defendants for the

period from August 11, 2006 to October 13, 2006.

     It is so ordered.

     Dated this 22nd day of September 2006 at Hartford,

Connecticut.

                                          /s/AWT
                                        Alvin W. Thompson
                                  United States District Judge
